                  Case 2:20-cv-01813-RAJ Document 10 Filed 12/17/20 Page 1 of 3




 1                                                                       The Honorable Richard A. Jones

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 7
                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON

 9
     ADA YEAGER,
10
                                     Plaintiff,           No.     2:20-cv-01813 RAJ
11
                      v.
12                                                        DECLARATION OF GHAZAL SHARIFI
     CITY OF SEATTLE, a municipality
13   corporation,

14                                   Defendant.

15
             I, GHAZAL SHARIFI, being familiar with the facts set forth herein based on my personal
16
     knowledge, and being competent to testify, hereby declare under penalty of perjury that the following
17
     is true and correct:
18
             1.       I am one of the Assistant City Attorneys representing Defendant as counsel of record
19
     in the above-captioned matter.
20
             2.       Following the Court hearing on Plaintiffs’ motion for Temporary Restraining Order
21
     on December 16, 2020, we received an update on Plaintiff’s referral for shelter.
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      DECLARATION OF GHAZAL SHARIFI (2:20-cv-01813) - 1                                   Peter S. Holmes
                                                                                          Seattle City Attorney
                                                                                          701 5th Avenue, Suite 2050
                                                                                          Seattle, WA 98104-7095
                                                                                          (206) 684-8200
                 Case 2:20-cv-01813-RAJ Document 10 Filed 12/17/20 Page 2 of 3




 1          3.       This morning, the undersigned counsel was advised that the Plaintiff was given a

 2   referral for shelter at a tiny home community and was completing intake paperwork as of this

 3   morning.

 4          4.       Additionally, the undersigned counsel learned this morning that based on

 5   preliminary data, there were additional referrals to shelter yesterday which would put the City at 20

 6   total referrals for the past week of engagement by providers.

 7
        I declare under penalty of perjury that the foregoing is true and correct to the best of my
 8
     knowledge and belief.
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                     DATED this 17th day of December, 2020.
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12
                                           /s/Ghazal Sharifi
13                                           Ghazal Sharifi, WSBA#47750
                                             Assistant City Attorney
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      DECLARATION OF GHAZAL SHARIFI (2:20-cv-01813) - 2                                  Peter S. Holmes
                                                                                         Seattle City Attorney
                                                                                         701 5th Avenue, Suite 2050
                                                                                         Seattle, WA 98104-7095
                                                                                         (206) 684-8200
               Case 2:20-cv-01813-RAJ Document 10 Filed 12/17/20 Page 3 of 3




 1                                      CERTIFICATE OF SERVICE

 2
             I hereby certify that on December 17, 2020, I electronically filed the foregoing with the Clerk
 3   of the Court using the CM/ECF system which will send notification of such filing to the following:

 4
                 Braden Pence, WSBA# 43495                    ( x ) Via Email
 5               Mazzone Law Firm, PLLC                       bradenp@mazzonelaw.com
                 3002 Colby Avenue, Suite 302                 lizc@mazzonelaw.com
 6               Everett, WA 98201
 7               [Attorney for Plaintiff]
 8

 9
            DATED this 15th day of December, 2020.
10
                                                  s/ Ghazal Sharifi
11                                                Ghazal Sharifi, Assistant City Attorney

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      DECLARATION OF GHAZAL SHARIFI (2:20-cv-01813) - 3                                  Peter S. Holmes
                                                                                         Seattle City Attorney
                                                                                         701 5th Avenue, Suite 2050
                                                                                         Seattle, WA 98104-7095
                                                                                         (206) 684-8200
